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 UNITED STATES DISTRICT COURT                                  NOT FOR PUBLICATION
 EASTERN DISTRICT OF NEW YORK


 JULIANNE POLITO,

                                       Plaintiff,

                        – against –

  THE CITY OF NEW YORK, THE                                    MEMORANDUM & ORDER
  DEPARTMENT OF HEALTH AND MENTAL
  HYGIENE OF THE CITY OF NEW YORK,
  PATRICIA PATE, Individually and in her Official
  Capacity as Director of Provider Oversight,
  Bureau of Early Intervention of THE
  DEPARTMENT OF HEALTH AND MENTAL                              15-CV-2301 (ERK) (RML)
  HYGIENE OF THE CITY OF NEW YORK,
  NORA PUFFETT, Individually and in her Official
  Capacity as Director of Administration and Data
  Management of THE DEPARTMENT OF
  HEALTH AND MENTAL HYGIENE OF THE
  CITY       OF     NEW       YORK,       DOLORES
  GIURDANELLA, Individually and in her Official
  Capacity as Director of the Manhattan Regional
  Office of the Bureau of Early Intervention Program
  of THE DEPARTMENT OF HEALTH AND
  MENTAL HYGIENE OF THE CITY OF NEW
  YORK, JOHN AND JANE DOES 1 through 10,
  Individually and in his, her and its respective
  capacities as Officials of the City of New York
  and/or the State of New York, and JOHN AND
  JANE DOES 1 through 10, Individually,

                                       Defendants.


 KORMAN, J.:

         Julianne Polito filed (and then amended) a complaint alleging that New York City officials

 had unlawfully pressured her private employer, a city contractor, into firing her. Dkts. 1, 34. The

 amended complaint was dismissed without prejudice based on the legal insufficiency of its federal

 claims. 1st Dismissal Order (Dkt. 50). Polito then filed a second amended complaint. Dkt. 55.

 Although the second amended complaint includes additional details of Polito’s firing, it essentially
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 re-pleads the same legal theories found defective earlier. For that reason, I now dismiss the federal

 claims in the second amended complaint.

          I do not, however, dismiss the complaint entirely. The essence of Polito’s complaint is an

 allegation of tortious interference that invokes jurisdiction based on diversity of citizenship. The

 defendants have failed to establish that this cause of action is legally defective, and, at this early

 stage, I am required to assume the truth of plausibly pleaded allegations. But before discussing

 Polito’s state-law claims, I first add to my earlier dismissal order a few brief thoughts on the federal

 claims. Note that this opinion assumes familiarity with the facts as discussed in the first dismissal

 order.

     I. Polito’s Federal Claims

          A. Procedural Due Process

          I have already held that the alleged conduct here is “random and unauthorized” (meaning

 the existence of the Article 78 procedure defeats Polito’s procedural due-process claims).

 1st Dismissal Order at 9–10, 12. I elaborate some on my earlier discussion. The Second Circuit

 has asked two questions in distinguishing between established state procedures and random and

 unauthorized conduct. The first, based on the Supreme Court’s holding in Zinermon v. Burch,

 494 U.S. 113, 138 (1990), is whether the “state [has] delegated to th[e] actors ‘the power and

 authority to effect the very deprivation complained of.’” Rivera–Powell v. N.Y.C. Bd. of Elections,

 470 F.3d 458, 465 (2d Cir. 2006) (quoting Zinermon, 494 U.S. at 138). In Zinermon, hospital

 physicians, administrators, and other staff who had allegedly unlawfully confined the plaintiff in

 a mental hospital had been delegated not just “the power and authority to effect the” confinement

 but also “the concomitant duty to initiate the procedural safeguards … to guard against unlawful

 confinement.” 494 U.S. at 114–15, 138. The confinement was therefore not “random” and

 “unauthorized.” Id. at 138. The second question, intertwined with the first, is whether the acts are


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 of “high-ranking officials who are ‘ultimate decision makers’ and have ‘final authority over

 significant matters,’ even if those acts are contrary to law.” Rivera–Powell, 470 F.3d at 465

 (quoting Velez v. Levy, 401 F.3d 75, 91–92 & nn. 14, 15 (2d Cir. 2005)) (alteration omitted).

 Ultimately, the underlying issue is “whether the state [was] in a position to provide for

 predeprivation process.” Hudson v. Palmer, 468 U.S. 517, 534 (1984).

        The Second Circuit has described this theory as “not clear-cut,” Rivera–Powell, 470 F.3d

 at 465, and there is conflict between the circuits as to various applications of the doctrine, see

 Marvin A. Schwartz, Section 1983 Litig. Claims & Defenses § 3.07 (4th Ed. 2018-1 Supplement).

 For example, in contrast to the Second Circuit, three circuits have held that the acts of high-level

 officials can be “random and unauthorized.” See id. (citing San Geronimo Caribe Project v.

 Acevedo–Vila, 687 F.3d 465, 493 (1st Cir. 2012) (en banc); Johnson v. La. Dep’t of Agric., 18 F.3d

 318, 322 (5th Cir. 1994); Easter House v. Felder, 910 F.2d 1387, 1400 (7th Cir. 1990) (en banc)).

 Nonetheless, the outcomes of the doctrine as applied by the Second Circuit provide helpful

 guideposts. The Second Circuit has found conduct random and unauthorized where the violation

 was not caused by an established state procedure and where, indeed, the city officials allegedly

 “acted in flagrant violation of the City Charter and [Procurement] Rules.” Hellenic Am.

 Neighborhood Action Comm. v. N.Y.C., 101 F.3d 877, 881 (2d Cir. 1996). As later observed by

 the Second Circuit, this conduct in Hellenic was “an arbitrary act by a state employee,” for which

 “‘it is difficult to conceive of how the State could provide a meaningful hearing before the

 deprivation takes place.’” Velez, 401 F.3d at 92 & n. 14 (quoting Hudson, 468 U.S. at 532–33)).

 In contrast, in DiBlasio v. Novello, 344 F.3d 292, 295, 303 (2d Cir. 2003), in which the plaintiff

 brought a “stigma plus” claim based on allegedly defamatory statements to the press, the Second

 Circuit held that the actions of the commissioner of the city Department of Health and Mental

 Hygiene were not random and unauthorized because she was “a high-level state official with final


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 authority on many department matters, including the content of press releases and her own

 statements in press conferences.” And in Velez, 401 F.3d at 79–80, in which the plaintiff alleged

 that the city schools chancellor removed her from the school board in retaliation for her political

 positions, the chancellor’s actions were not random and unauthorized:

                Here, with respect to Chancellor Levy, our reasoning in DiBlasio
                applies with equal force. Levy is precisely the sort of high ranking
                official identified by this line of cases. Just as in DiBlasio, where the
                commissioner had the authority to suspend summarily DiBlasio’s
                license, and had the duty as commissioner to ensure that the
                department followed the prescribed procedures governing summary
                suspensions, Levy had the authority to remove Velez, and the duty
                as Chancellor to follow the governing New York statutes and
                regulations. And, as in DiBlasio, any abuse of that authority that rose
                to the level of a due process violation cannot be considered random
                and unauthorized. Accordingly, Velez was entitled to a
                pre-deprivation hearing before Levy executed the decision to
                remove her from the board.

 Id. at 92 (citations, quotation marks, and footnotes omitted). See also Rivera–Powell, 470 F.3d at

 466 (suggesting, in dicta, that the Board of Elections’ actions were not random and unauthorized

 because state law had delegated to it the authority to remove candidates from the ballot). Here, the

 defendants were not “authorized to terminate or interfere with any agreement” between Polito and

 her employer. 2d Amend. Compl. ¶ 52. Rather, the complaint specifically alleges that the

 defendants operated well outside established rules. See id. at ¶ 100.

        Similarly, even the actions of the city’s Chief Procurement Officer relating to procurement

 have been held to be random and unauthorized because he “did not have ‘final authority over

 significant matters.’” Rivera–Powell, 470 F.3d at 466 (quoting Novello, 344 F.3d at 303 n.3). The

 employment pressure alleged of the low-level individual defendants here—administrators within

 one sub-agency within the city Department of Health and Mental Hygiene, 2d Amend. Compl.

 ¶¶ 11–19—would tend to be random and unauthorized. The defendants are not akin in authority to




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 the chancellor of city schools or the commissioner of their department. Cf. Velez, 401 F.3d at 92;

 Novello, 344 F.3d at 303.

        This conclusion makes sense because, again, the underlying question is “whether the state

 [was] in a position to provide for predeprivation process.” Hudson, 468 U.S. at 534. The complaint

 here alleges the operation of an “insidious conspiracy.” 2d Amend. Compl. ¶ 87. Ultimately, and

 unfortunately, no matter how the inquiry is phrased doctrinally, there is no reasonable way that the

 state can provide pre-deprivation process in this circumstance.

        B. Stigma Plus

        Second, Polito’s “stigma plus” claim fails for want of a “plus.” My earlier order expressed

 that Polito’s ability to find a new job in three months, 2d Amend. Compl. ¶ 99, likely meant that

 the state had not deprived her of a tangible interest. 1st Dismissal Order at 11. That is so. In Rudow

 v. N.Y.C., 822 F.2d 324 (2d Cir. 1987), Rudow lost his private-sector job after the city’s Human

 Rights Commission found him responsible for sexual harassment. Id. at 326. Even if that finding

 was factually incorrect, id. at 329, Rudow did not allege any deprivation sufficient to concern the

 Due Process Clause:

                He has not suffered the loss of public employment, nor has he been
                prevented from practicing his profession. His loss of the top job at
                his firm is an inadequate addendum to his reputation claim. He has
                not been prevented from engaging in the everyday activities of life.

 Id. at 330 (citations omitted). It is equally true that the loss of Polito’s job is an “inadequate

 addendum” to her claim. See also Neu v. Corcoran, 869 F.2d 662, 666–70 (2d Cir. 1989)

 (discussing the “plus” in a “stigma plus” claim).

        C. Substantive Due Process

        Finally, I address what appears to be a new legal theory in Polito’s second amended

 complaint, that the defendants “arbitrarily took Dr. Polito’s right to continue to engage in her

 chosen profession.” Pl.’s Resp. to Def.’s Mot. to Dismiss (Dkt. 63) at 36. That is, distinct from the

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 “stigma plus” claim, when the defendants caused Polito’s firing, they violated Polito’s substantive

 due-process interest in “follow[ing] any lawful calling, business, or profession.” Dent v. West

 Virginia, 129 U.S. 114, 121 (1889). This goes too far. Polito was not forced to give up her calling;

 she was fired from one job as an independent contractor and soon found other work. See Engquist

 v. Ore. Dep’t of Agric., 478 F.3d 985, 996–99 (9th Cir. 2007) (explaining that only extreme actions,

 those affecting job prospects to the same degree as legislation, can violate the right to pursue a

 profession). Taken as true, Polito’s complaint does describe an injustice, but “the Fourteenth

 Amendment [should] not be interpreted so broadly as to turn every state-law tort committed by a

 state official into a constitutional violation.” Neu, 869 F.2d at 666. The crux of Polito’s complaint

 is not a violation of her constitutional rights; it is a theory of tortious interference under state law.

     II. Polito’s State-Law Claims: Tortious Interference …

         To which I now turn. When I dismissed Polito’s first amended complaint, I declined to

 exercise supplemental jurisdiction over her state-law claims. 1st Dismissal Order at 16. This was

 a mistake. Then and now, Polito pleaded that she brings her state-law claims under both

 supplemental and diversity jurisdiction. 2d Amend. Compl. ¶ 4; see also 1st Amend. Compl. (Dkt.

 34) at ¶ 4. Complete diversity of citizenship appears to be present between Polito, who says she

 moved to Florida in response to the events complained of, and the defendants, all of whom are

 affiliated with New York. Id. at ¶¶ 6–24, 99. No party has suggested otherwise. Additionally,

 Polito has plausibly pleaded that the value of her claims exceeds $75,000. E.g., 2d Amend. Compl.

 ¶ 199. Accordingly, I analyze Polito’s three state-law claims on the merits. See 28 U.S.C. § 1332.

 All are varieties of tortious interference.

         A. … With State Certification

         The most esoteric of these is “tortious interference with state certification as an early

 intervention provider.” 2d Amend. Compl. ¶¶ 202–03. Polito does not explain the elements of this


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 cause of action; indeed, she does not discuss it at all in her response to the defendants’ current

 motion to dismiss. Pl.’s Resp. to Def.’s Mot. to Dismiss at 46–47. In my own review of New York

 law, I have been unable to verify that such a claim even exists. If it does, it would surely fail here,

 where Polito pleaded that her certification was never suspended or revoked—that is, that her state

 certification was not actually interfered with. 2d Amend. Compl. ¶ 101.

        B. … With Prospective Employment Contracts

        Polito’s second state-law claim is for tortious interference with prospective employment

 contracts. 2d Amend. Compl. ¶¶ 200–01. She does not defend this claim in her briefing either.

 Pl.’s Resp. to Def.’s Mot. to Dismiss at 46–47. Under New York law, tortious interference with

 prospective economic relations includes—and, indeed, may be limited to—(1) crimes,

 independent torts, or conduct engaged in for “the sole purpose of inflicting intentional harm” that

 (2) interferes with prospective contracts or other nonbinding economic relations. Carvel Corp. v.

 Noonan, 3 N.Y.3d 182, 189–91 (2004) (quoting NBT Bancorp, Inc. v. Fleet/Norstar Fin. Grp.,

 Inc., 215 A.D.2d 990, 990 (3d Dep’t 1995), aff’d, 87 N.Y.2d 614 (1996)). Here, Polito has alleged

 no conduct that interfered with prospective economic relations rather than with the employment

 from which she was dismissed. The only allegation that even possibly qualifies is that one

 defendant encouraged certain city officials to “‘be on the lookout for’ Dr. Polito,” but Polito does

 not mention any economic interference caused by this warning. 2d Amend. Compl. ¶ 99; see also

 id. at ¶¶ 80–81. Rather, Polito’s point seems to be that she moved from New York to Florida

 because she believed that the defendants, having caused her firing once, could cause her to be fired

 again. See id. at ¶¶ 99, 201. In other words, she objects to prospective tortious interference with

 prospective employment contracts. Given, however, that the tort requires actual interference,

 Polito cannot object to what the defendants merely might have done.




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         C. … With Employment

         Finally, Polito alleges traditional tortious interference with employment. 2d Amend.

 Compl. ¶¶ 185–99. “Under New York law, the elements of a tortious interference [with contract]

 claim are: (a) that a valid contract exists; (b) that a ‘third party’ had knowledge of the contract; (c)

 that the third party intentionally and improperly procured the breach of the contract; and (d) that

 the breach resulted in damage to the plaintiff.” Albert v. Loksen, 239 F.3d 256, 274 (2d Cir. 2001)

 (quoting Finley v. Giacobbe, 79 F.3d 1285, 1294 (2d. Cir 1996)). With respect to this claim, the

 defendants primarily argue that employees can never recover for tortious interference if their

 employment was at will. Br. in Supp. of Def.’s Mot. to Dismiss at 31. The cases the defendants

 cite for this proposition, however, establish only the obvious point that dismissed employees

 cannot avoid employment at will by bringing tortious-interference claims against their former

 employers. See Ingle v. Glamore Motor Sales Inc., 73 N.Y.2d 183, 188–89 (1989); Murphy v. Am.

 Home Prods. Corp., 58 N.Y.2d 293, 300–02 (1983); Lobel v. Maimonides Med. Ctr., 39 A.D.3d

 275, 276–77 (1st Dep’t 2007). The cases do not hold that at-will employment bars claims when an

 employee’s relationship with her employer is attacked by a third party. In fact (although Polito

 does not cite this case law either), the Second Circuit has held that “[a]n at-will employee may

 maintain a tortious interference claim” under New York law if she can “establish that ‘a third party

 used wrongful means to effect the termination such as fraud, misrepresentation, or threats, that the

 means used violated a duty owed by the defendant to the plaintiff, or that the defendant acted with




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 malice.’” Loksen, 239 F.3d at 274 (quoting Cohen v. Davis, 926 F. Supp. 399, 403 (S.D.N.Y. 1996)

 (collecting cases)). This view is amply supported by other authorities as well. 1

          The defendants’ only response is an argument that tortious-interference claims against third

 parties are limited to those situations in which the “defendants’ actions were done for the sole

 purpose of harming [the] plaintiff.” Br. in Supp. of Def.’s Mot. to Dismiss at 31. The defendants’

 only citation in support of their theory (arguably to dicta), see Lobel, 39 A.D.3d at 276–77, itself

 relies only on a holding that the “the sole purpose of inflicting intentional harm” was one of several

 ways conduct could rise to intentional interference with prospective economic relations, a tort that

 requires more culpable conduct, Noonan, 3 N.Y.3d at 189–90. Admittedly, the complaint itself

 states that the defendants were not motivated solely by malice: they were attempting to respond to

 a parent’s complaint. 2d Amend. Compl. ¶ 55(c). Under Second Circuit law, however, it is enough

 to ask whether the defendants caused Polito’s firing using “wrongful means.” Loksen, 239 F.3d at

 274.

          At the pleading stage, the answer appears to be yes, this being the thrust of Polito’s

 complaint. Polito alleges that the defendants threatened her employer “with economic ruin if [it]

 did not terminate Dr. Polito’s contract.” 2d Amend. Compl. ¶¶ 42, 58; see Lurie v. New Amsterdam

 Casualty Co., 270 N.Y. 379, 381 (1936) (upholding tortious-interference verdict where insurer



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             See, e.g., Guard-Life Corp. v. S. Parker Hardware Mfg. Corp., 50 N.Y.2d 183, 194 (1980) (“Where
 contracts terminable at will have been involved, we have upheld complaints and recoveries in actions seeking damages
 for interference when the alleged means employed by the one interfering were wrongful, as consisting of fraudulent
 representations, or threats or as in violation of a duty of fidelity owed to the plaintiff by the defendant.” (citations
 omitted)); 72 N.Y. Jur. 2d Interference § 37 (updated Nov. 2017) (variously describing tortious interference as
 requiring that “the defendant acted solely out of malice or used improper or illegal means that amounted to a crime or
 independent tort”; “that the defendant either acted with the sole purpose of harming the plaintiff or by means that were
 dishonest, unfair, or improper”; or “that the defendant interfered … either with the sole purpose of harming the plaintiff
 or by means that were unlawful or improper or that the interference was effected by unlawful means or, under the
 theory of prima facie tort, by lawful means without justification”); 2 N.Y. Pattern Jury Instructions Civil 508–09
 (2d ed. 2008) (requiring “malice” or “wrongful means” to defeat the defense of justification); Restatement (Second)
 of Torts § 766 & cmt. j (1979) (“The rule stated in this Section is applicable if the actor … desires to interfere, even
 though he acts for some other purpose in addition.”).


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  threatened to withhold payment to car-accident victim unless victim fired his at-will attorney). The

  defendants here did so despite their alleged lack of any legal authority. 2d Amend. Compl. ¶ 100.

  Indeed, the defendants’ very argument that any acts were random and unauthorized, Br. in Supp.

  of Def.’s Mot. to Dismiss at 16, tends to suggest that their conduct was arbitrary—“wrongful”—

  interference with Polito’s employment. And in the course of these acts, the defendants also

  “defamed Dr. Polito.” 2d Amend. Compl. ¶ 86. As a result, Polito was in fact fired, causing her

  damages. Id. at ¶¶ 57, 70. These allegations are plausibly supported by documentary evidence and

  the pleading of specific dates, names, and details. Of course, discovery may well reveal that the

  defendants’ actions were a justified response to a parent’s valid complaint rather than what Polito

  describes. At this early, pleading stage, however, Polito’s plausible allegations must be credited.

  See Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009). 2

                                                         ***

           The defendants’ motion to dismiss is granted as to Polito’s first, second, third, fourth, fifth,

  seventh, and eighth claims. The motion is denied as to Polito’s sixth claim, for tortious interference

  with employment.



                                                                         SO ORDERED.

           Brooklyn, New York                                            Edward R. Korman
           December 21, 2017                                             Edward R. Korman
                                                                         United States District Judge




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              Although Polito says she was an independent contractor, she describes this cause of action as “tortious
  interference with contract of employment.” 2d Amend. Compl. at p. 41. The defendants argue their motion to dismiss
  as if Polito had been an employee; they make no reference to her status as an independent contractor. Br. in Supp. of
  Def.’s Mot. to Dismiss at 31. And Polito, who worked at her job part-time from 2006—full-time from 2011—appears
  to have been a de facto employee. 2d Amend. Compl. ¶¶ 186, 191. Accordingly, I have analyzed this cause of action
  through the lens of an employer–employee relationship.

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